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  1   Jay M. Spillane (Bar No. 126364)
      jspillane@spillaneplc.com
  2   SPILLANE LAW GROUP PLC
  3   468 N. Camden Drive
      Second Floor
  4   Beverly Hills, CA 90210
      (424) 217-5980
  5   (888) 590-1683 (fax)
  6   Kevin D. Neal (Az. Bar No. 011640)
      GALLAGHER & KENNEDY, P.A.
  7   2575 East Camelback Road
      Phoenix, Arizona 85016-9225
  8   (602) 530-8000
      (602) 530-8500 (fax)
  9   kevin.neal@gknet.com
 10   Attorneys for Plaintiff ALS Scan, Inc.
 11
 12                       UNITED STATES DISTRICT COURT
 13                     CENTRAL DISTRICT OF CALIFORNIA
 14                                              Case No.: 2:16-cv-05051-GW-AFM
      ALS SCAN, INC., a Maryland
 15   corporation,                               PLAINTIFF’S VERDICT FORM
 16
                  Plaintiff,                     Date: April 12, 2018
 17                                              Time: 8:30 a.m.
 18      vs.                                     Place: Courtroom 9D
                                                        350 W. 1st Street
 19
      CLOUDFLARE, INC., a Delaware                      Los Angeles, CA
 20   corporation, et al.,
 21
                   Defendants.
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                                      ALS Verdict Form
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  1   CONTRIBUTORY COPYRIGHT INFRINGEMENT
  2
  3   1. Did ALS Scan prove by a preponderance of the evidence that there was
  4   direct infringement of ALS Scan’s copyrighted works?
  5
  6   Yes _____         No _____
  7
  8   If you answered Yes, proceed to Question 2. If you answered No, stop here.
  9
 10   2. Did ALS Scan prove by a preponderance of the evidence that Cloudflare
 11   materially contributed to the infringement of ALS Scan’s copyrighted works?
 12
 13   Yes _____         No _____
 14
 15   If you answered Yes, proceed to Question 3. If you answered No, stop here.
 16
 17   3. Did ALS Scan prove by a preponderance of the evidence that Cloudflare’s
 18   conduct was willful?
 19
 20   Yes _____         No _____
 21
 22   4. Cloudflare contributed to infringement of how many of ALS Scan’s works?
 23
 24
 25   ____________________________
 26
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                                     ALS Verdict Form
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  1   5. What amount of statutory damage do you award to ALS Scan against
  2   Cloudflare for each work infringed?
  3
  4
  5   $__________________________
  6
  7
  8   DATED: April 9, 2018                  SPILLANE LAW GROUP PLC
                                            GALLAGHER & KENNEDY, P.A.
  9
 10
 11
                                            By: _____________________________
 12                                                     Jay M. Spillane
                                            Attorneys for Plaintiff ALS Scan, Inc.
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                                     ALS Verdict Form
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this action. My business address is: 468 N. Camden Drive, Second Floor,
Beverly Hills, CA 90210-4507. A true and correct copy of the foregoing document entitled (specify):
PLAINTIFF’S VERDICT FORM will be served or was served (a) on the judge in chambers in the form and
manner required by Local Rules and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and Local Rules, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) April 9, 2018, I checked the CM/ECF docket for this action and determined that the following persons are on the
Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Gary L. Bostwick– gbostwick@B1Law.com                           Colin TJ O’Brien – tm@partridgepartnerspc.com
Kevin S. Toll – kevin@silversteinlegal.com                      John L. Ambrogi – jla@partridgepartnerspc.com
Lawrence G. Walters – larry@firstamendment.com                  Daniel L Rogna daniel@partridgepartnerspc.com
Corey D. Silverstein – corey@silversteinlegal.com               Paul Supnick – paul@supnick.com
Rachel Kassabian – rachelkassabian@quinnemanuel.com             Raymond Katrinak – pkatrinak@kernanlaw.net
Carolyn M. Homer – carolynhomer@quinnemanuel.com                Ryan Carreon – rcarreon@kernanlaw.net
Mark Thomas Gray markgray@quinnemanuel.com                      Stephen M Kernan – kernanlaw@gmail.com
Armen Nercessian anercessian@fenwick.com                        John P Flynn john.flynn@gknet.com
Jedediah Wakefield jwakefield@fenwick.com                       Kevin D Neal kevin.neal@gknet.com
Sapna S Mehta smehta@fenwick.com

                                                                             Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) April 9, 2018, I served the following persons and/or entities at the last known addresses in this case by placing
a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed
as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24
hours after the document is filed.

                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling Local Rule, on (date) April 9, 2018, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Served by Overnight Mail or Attorney Service
Hon. George H. Wu
U.S. District Court
         st
350 W. 1 Street
Courtroom 9D
Los Angeles, CA 90012                                                      Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 4/9/2018                    Jessie Gietl

 Date                     Printed Name                                         Signature
